UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE
UNITED STATES OF AMERICA )
)
Vv. ) No. 2:08-CR-38
) JUDGE JORDAN
ROBERT MARK MCPHERSON )

AGREED ORDER OF REVOCATION

A Petition for Revocation of Supervised Release has been filed against the defendant,
Robert Mark McPherson, and the defendant admits that he has violated the conditions of his
supervised release, An agreement has been reached between the parties, recommending that Mr.
McPherson’s supervised release should be revoked and that he should receive a sentence of six (6)
months imprisonment followed by three (3) years of supervised release, All previously imposed
general, standard and special conditions shall continue to apply with the addition of the following
special condition:

The defendant shall submit his or her person, property, house, vehicle, papers,

[computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic communications

or data storage devices or media,] or office, to a search conducted by a United States

probation officer or designee. Failure to submit to a search may be grounds for

revocation of release. The defendant shall warn any other occupants that the

premises may be subject to searches pursuant to this condition. An officer may

conduct a search pursuant to this condition only when reasonable suspicion exists

that the defendant has violated a condition of his supervision and that the areas to

be searched contain evidence of this violation. Any search must be conducted at a

reasonable time and in a reasonable manner,

Mr. McPherson agrees to waive his right to a hearing pursuant to Rule 32 of the Rules of
Criminal Procedure, waive his right to allocute at a revocation hearing, and asks that the agreement
of the defendant and the government pursuant to Rule 11 of the Federal Rules of Criminal

Procedure be found to be a proper sentence. In doing so, the defendant acknowledges that he is

giving up the following rights:

Case 2:08-cr-00038-RLJ-MCLC Document 669 Filed 01/07/16 Pagelof5 PagelD #: 5074
(1) The right to the assistance of counsel for his defense.

(2) The right to see and hear all the witnesses and have them cross-examined in his
defense.

(3) The right on his own part not to testify unless he chose to do so in his defense, and

(4) The right to the issuance of subpoenas to compel the attendance of witnesses to
testify on his behalf,

Mr. McPherson stipulates to the following violations that can be proven by the government
by a preponderance of the evidence:

(1) General Condition: The defendant shall not commit another federal, state or local
crime.

(2) Standard Condition No. 7: The defendant shall refrain from excessive use of
alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance, except as prescribed by a physician.

(3) Standard Condition No, 11; The defendant shall notify the probation officer
within seventy-two hours of being arrested or questioned by a law enforcement
officer.

On July 7, 2015, Mr. McPherson was charged with Public Intoxication in Sullivan
County, Tennessee, Police records indicate officers were dispatched to Dail Street
in reference to a disturbance call. Mr. McPherson was found in the middle of the
road arguing with his girlfriend, allegedly causing a disturbance. Upon officers
speaking to Mr. McPherson, he was alleged to have a strong odor of alcoholic
beverage on his person and breath. Also, Mr. McPherson was unsteady on his feet
and had a complete lack of coordination. Mr. McPherson was ordered to go into
his residence, and he would not comply with that order. It was determined Mr.
McPherson could not adequately care for himself and would be a danger to himself
and the general public, so he was placed under arrest for Public Intoxication, Mr.
McPherson was released on $250.00 bond,

On July 16, 2015, the probation officer learned of the new arrest through a random
records check. On July 17, 2015, Mr. McPherson reported to the probation office.
Mr. McPherson did not report his arrest in a timely manner, and when questioned,
he indicated he thought he only had to report the conduct on his monthly reporting
from. Mr. McPherson admitted to drinking heavily on the night of the incident.
Mr. McPherson denied having an alcohol dependence or problem, and he declined
needing any treatment on this date,

Case 2:08-cr-00038-RLJ-MCLC Document 669 Filed 01/07/16 Page 2of5 PagelD #: 5075
On November 5, 2015, Mr McPherson pled guilty to public intoxication in Sullivan
County General Sessions Court Docket Number RK-39186 in Kingsport,
Tennessee,

(4) General Condition: The defendant shall not illegally possess a controlled
substance. The defendant shall refrain from any unlawful use of a controlled
substance.

(5) Standard Condition No. 3: The defendant shall answer truthfully all inquiries by
the probation officer and follow the instructions of the probation officer,

(6) Standard Condition No. 7; The defendant shall refrain from excessive use of
alcohol and shall not purchase, possess, use, distribute, or aemilnister any controlled
~ substance, except as prescribed by a physician.

(7) Standard Condition No. 8: The defendant shall not frequent places where
controlled substances are illegally sold, used, distributed, or administered.

(8) Standard Condition No. 9: The defendant shall not associate with any persons
engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer.

On November 6, 2015, Mr. McPherson completed a random drug screen which
tested presumptive positive for methamphetamine and marijuana. Mr. McPherson
initially denied any illegal substance usage to the probation officer; however, he
later admitted to smoking marijuana on November 5, 2015. On November 20,
2015, Mr. McPherson again denied any methamphetamine usage, He was
instructed to report to the office on November 23, 2015. On November 23, 2015,
Mr. McPherson submitted a urine sample, which was presumptively positive for
methamphetamine. Mr. McPherson denied any usage of methamphetamine again
on this date, The lab confirmed separate usage of Methamphetamine in both
samples submitted for the month of November 2015.

Based on the above conduct, the offender appears to be in violation of Title 21
U.S.C. §841 (a)(1)(E). On the dates of November 6, 20, and 23, 2015, Mr.
McPherson stated to the probation office he had not used methamphetamine, The
offender provided false information when answering these questions and appears
to be in violation of Title 18 U.S.C. §1001.

On November 30, 2015, Mr. McPherson attended a substance abuse treatment
appointment with Comprehensive Community Services. On this date he still denied
any methamphetamine consumption; however, he did admit to the counselor to
being present with other that were consuming methamphetamine.

Case 2:08-cr-00038-RLJ-MCLC Document 669 Filed 01/07/16 Page 3of5 PagelD #: 5076
The Court has considered the Chapter Seven policy statements in the United States
Sentencing Guidelines. The violations above when grouped constitute Grade B violations for
which an advisory guideline range of 6 to 12 months would apply given his Criminal History
Category IJ. The Court has considered these advisory guideline ranges. The Court has also
considered the statutory maximum of 36 months imprisonment. The Court has also considered the
factors listed in 18 U.S.C. § 3553(a).

The Court concludes that the recommended sentence is sufficient, but not greater than
necessary, to comply with the purposes set forth in 18 U.S.C. § 3553(a). Specifically, the Court
finds that the defendant has admitted that the proof could establish by a preponderance of the
evidence that he committed the violations alleged in the petition for warrant for offender under
supervision.

Based on the foregoing, the Court finds that the recommended sentence is sufficient, but
not greater than necessary to accomplish the purposes set forth in 18 U.S.C. § 3553(a) while taking
into consideration all of those factors and the Chapter Seven policy statements. IT IS HEREBY
ORDERED, therefore, that the defendant’s supervised release is hereby revoked. The defendant
is hereby sentenced to six (6) months imprisonment followed by three (3) years of supervised
release, All previously imposed general, standard and special conditions shall continue to apply
with the addition of the following special condition:

The defendant shall submit his or her person, property, house, vehicle, papers,

[computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic communications

or data storage devices or media,] or office, to a search conducted by a United States

probation officer or designee. Failure to submit to a search may be grounds for

revocation of release. The defendant shall warn any other occupants that the
premises may be subject to searches pursuant to this condition. An officer may
conduct a search pursuant to this condition only when reasonable suspicion exists

that the defendant has violated a condition of his supervision and that the areas to

be searched contain evidence of this violation. Any search must be conducted at a
reasonable time and in a reasonable manner.

Case 2:08-cr-00038-RLJ-MCLC Document 669 Filed 01/07/16 Page 4of5 PagelD #: 5077
It is recommended that the Bureau of Prisons designate the defendant to FCI Manchester,

 

 

 

 

Kentucky.
LM a
Honorable R. Leon Jofdan
United States District Judge
APPROVED FOR ENTRY:
Robert M. Reeves Robert Mark McPherson
Assistant U.S. Attorney Defendant oo
“Dir Rage un La Nore
Pamela Higgit/ Tim S, Moore
U.S. Probation Officer Attorney for Defendant

Case 2:08-cr-00038-RLJ-MCLC Document 669 Filed 01/07/16 Page 5o0f5 PagelD #: 5078
